Case 2:22-cv-07509-SDW-JRA   Document 7-1    Filed 02/27/23   Page 1 of 42 PageID: 40




                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

  LOUIS J. DECOSMO
                             Plaintiff,
                     v.
                                                 No. 22-cv-7509
  NEW YORK PRESBYTERIAN
  HOSPITAL

                             Defendant.


         MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
             NEW YORK PRESBYTERIAN HOSPITAL’S
           MOTION TO DISMISS PLAINTIFF’S COMPLAINT

                                            Motion Date: May 1, 2023

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Case 2:22-cv-07509-SDW-JRA                     Document 7-1              Filed 02/27/23           Page 2 of 42 PageID: 41




                                             TABLE OF CONTENTS

                                                                                                                           Page
  TABLE OF AUTHORITIES ..................................................................................... i
  PRELIMINARY STATEMENT ...............................................................................1
  STATEMENT OF FACTS ........................................................................................3
           A.        New York Presbyterian Hospital ..........................................................3
           B.        The COVID-19 Pandemic and NYPH’s Vaccination Program ............4
           C.        The New York Department of Health’s Vaccination Mandate ............6
           D.        Plaintiff’s Employment at the Hospital .................................................8
           E.        Plaintiff’s Refusal to Comply with the State Law Vaccination
                     Requirement ..........................................................................................9
           F.        Procedural History...............................................................................10
  ARGUMENT ...........................................................................................................10
  I.       The Court Lacks Personal Jurisdiction Over Defendant ...............................12
           A.        No General Jurisdiction Exists Over NYPH .......................................12
           B.        No Specific Jurisdiction Exists Over NYPH ......................................14
  II.      Plaintiff Fails to State a Religious Discrimination Claim Under Title
           VII ..................................................................................................................17
           A.        The Complaint Fails to Plausibly Plead That Plaintiff’s Stated
                     Beliefs Conflict with an Employment Requirement. ..........................18
           B.        The Complaint Fails to Plausibly Plead That Any Adverse
                     Action was “Because of” Plaintiff’s Religious Beliefs.......................19
           C.        As a Matter of Law, the Hospital was Not Required to Provide
                     Plaintiff with a Religious Accommodation from the
                     Vaccination Requirement. ...................................................................21
           D.        The Complaint Does Not Plausibly Allege That the Hospital
                     Failed to Engage in the Interactive Process under Title VII. ..............25
  III.     Plaintiff Fails to State a Retaliation Claim Under Title VII ..........................28
  IV.      Plaintiff Fails to State a Defamation Claim...................................................30
  V.       Plaintiff Fails to State a Declaratory Judgment Act Claim ...........................33
  CONCLUSION ........................................................................................................33
Case 2:22-cv-07509-SDW-JRA                 Document 7-1           Filed 02/27/23          Page 3 of 42 PageID: 42




                                      TABLE OF AUTHORITIES

                                                                                                            Page(s)
  Cases

  A.G. v. Chester Upland School Dist.,
     655 F. App’x 125 (3d Cir. 2016) ........................................................................33

  Ashcroft v. Iqbal,
     556 U.S. 662 (2009) ............................................................................................11

  Avenatti v. Fox News Network, LLC,
     2021 WL 3603035 (D. Del. Aug. 13, 2021) .......................................................32

  In re AZEK Bldg. Prods., Inc. Litig.,
      82 F. Supp. 3d 608 (D.N.J. 2015) .......................................................................33

  Barrington v. United Airlines, Inc.,
    566 F. Supp. 3d 1102, 1110 (D. Colo. 2021) .....................................................26

  Bey v. City of New York,
    999 F.3d 157 (2d Cir. 2021) ...............................................................................23
  Bhatia v. Chevron U.S.A., Inc.,
    734 F.2d 1382 (9th Cir. 1984) ............................................................................23

  Billings v. N.Y.S. Dep’t of Corr. & Cmty. Supervision,
     2021 WL 4150925 (S.D.N.Y. Sept. 10, 2021) ...................................................20

  Blakney v. City of Philadelphia,
     559 F. App’x 183 (3d Cir. 2014) ..................................................................28, 30
  Bright v. LabCorp,
     2013 WL 1163489 (D.N.J. Mar. 19, 2013) ........................................................33

  Burger King Corp. v. Rudzewicz,
    471 U.S. 462 (1985) ......................................................................................14, 16

  Callahan v. Wisdom,
    2020 WL 2061882 (D. Conn. Apr. 29, 2020).....................................................16

  Castoria v. Berlin Int’l Colorado, L.L.C.,
    2018 WL 3000173 (D.N.J. June 14, 2018) .........................................................15

                                                            i
Case 2:22-cv-07509-SDW-JRA                Document 7-1           Filed 02/27/23        Page 4 of 42 PageID: 43




  In re Cognizant Tech. Sols. Corp. Derivative Litig.,
      2022 WL 4483595 (D.N.J. Sept. 27, 2022) .......................................................... 9

  Corigliano v. Classic Motor, Inc.,
    611 F. App’x 77 (3d Cir. 2015) ..........................................................................14

  Daimler AG v. Bauman,
    571 U.S. 117 (2014) ......................................................................................12, 13

  Dodd v. SEPTA,
    2008 WL 2902618 (E.D. Pa. July 23, 2008) ......................................................25

  Does 1-2 v. Hochul,
    2022 WL 4637843 (E.D.N.Y. Sept. 30, 2022) .............................................23, 24

  Dr. A. v. Hochul,
     2021 WL 4189533 (N.D.N.Y. Sept. 14, 2021) ..................................................... 7
  Dr. A. v. Hochul,
     567 F. Supp. 3d 362 (N.D.N.Y. 2021).................................................................. 7
  Fallon v. Mercy Catholic Med. Ctr. of Se. Penn.,
     877 F.3d 487 (3d Cir. 2017) .........................................................................17, 18
  Frilando v. New York City Transit Auth.,
     513 F. Supp. 3d 356 (S.D.N.Y. 2021), aff’d, 2022 WL 3569551
     (2d Cir. Aug. 19, 2022) .................................................................................25, 27
  Fuentes v. Mehra,
    2015 WL 3754705 (D.N.J. June 15, 2015) ...................................................13, 15

  George v. Rehiel,
    738 F.3d 562 (3d Cir. 2013) ...............................................................................11

  Golod v. Bank of Am. Corp.,
    403 F. App’x 699 (3d Cir. 2010) ........................................................................11

  Groeber v. Friedman,
    555 F. App’x 133 (3d Cir. 2014) ............................................................18, 19, 20
  Groff v. DeJoy,
    35 F.4th 162 (3d Cir. 2022), cert. granted, 143 S. Ct. 646 (2023).....................18



                                                          ii
Case 2:22-cv-07509-SDW-JRA                  Document 7-1           Filed 02/27/23         Page 5 of 42 PageID: 44




  Hamilton v. City of New York,
    563 F. Supp. 3d 42 (E.D.N.Y. 2021) ..................................................................23

  Hashmi v. City of Jersey City,
    2021 WL 4059852 (D.N.J. Sept. 7, 2021) ..........................................................20

  Hussain v. Nicholson,
    435 F.3d 359 (D.C. Cir. 2006) ............................................................................20

  Int’l Shoe Co. v. Washington,
      326 U.S. 310 (1945) ............................................................................................12

  Lowe v. Mills,
    2022 WL 3542187 (D. Me. Aug. 18, 2022) .......................................................23

  Lowman v. NVI LLC,
    821 F. App’x 29 (2d Cir. 2020) ........................................................18, 19, 22, 24
  Maharaj v. Time Warner Cable, Inc.,
    2014 WL 7366101 (D.N.J. Dec. 17, 2014).........................................................29
  Malik v. Cabot Oil & Gas Corp.,
    710 F. App’x 561 (3d Cir. 2017) ........................................................................13
  Mangan v. Corporate Synergies Grp., Inc.,
    834 F. Supp. 2d 199 (D.N.J. 2011) ...............................................................31, 32
  McBride v. BIC Consumer Prods.,
    583 F.3d 92 (2d Cir. 2009) .................................................................................27
  Miller v. Port Auth. of N.Y. & N.J.,
     788 F. App’x 886 (3d Cir. 2019) ........................................................................25
  Miller Yacht Sales, Inc. v. Smith,
     384 F.3d 93 (3d Cir. 2004) ...........................................................................10, 12

  Mutasa v. U.S. Citizenship & Immigr. Serv.,
    531 F. Supp. 3d 888 (D.N.J. 2021) .....................................................................33
  Perry v. Nat’l Ass’n of Home Builders of U.S.,
     2020 WL 5759766 (D. Md. Sept. 28, 2020) .......................................................15




                                                           iii
Case 2:22-cv-07509-SDW-JRA                    Document 7-1             Filed 02/27/23           Page 6 of 42 PageID: 45




  Read v. Profeta,
    397 F. Supp. 3d 597 (D.N.J. 2019) ...............................................................31, 32

  Reyes v. Westchester Cty. Health Care Corp.,
    2021 WL 4944285 (2d Cir. Oct. 25, 2021) ........................................................19

  Robinson v. Children’s Hosp. Bos.,
    2016 WL 1337255 (D. Mass. Apr. 5, 2016) .................................................24, 25

  Rodi v. S. New England Sch. of Law,
    255 F. Supp. 2d 346 (D.N.J. 2003) .....................................................................15

  Sealey v. Affiliated Computer Servs., Inc.,
     2012 WL 729217 (W.D.N.Y. Mar. 6, 2012), aff’d, 522 F. App’x 35
     (2d Cir. 2013) ......................................................................................................19
  Sides v. NYS Div. of State Police,
     2005 WL 1523557 (N.D.N.Y. June 28, 2005) ...................................................25
  Sutton v. Providence St. Joseph Med. Ctr.,
     192 F.3d 826 (9th Cir. 1999) ..............................................................................23

  Taylor v. Phoenixville Sch. Dist.,
     184 F.3d 296 (3d Cir. 1999) ...............................................................................27

  Time Share Vacation Club v. Atlantic Resorts, Ltd.,
     735 F.2d 61 (3d Cir. 1984) .................................................................................10
  Together Emps. v. Mass Gen. Brigham Inc.,
    573 F. Supp. 3d 412 (D. Mass. 2021), aff’d, 32 F.4th 82 (1st Cir.
    2022) ...................................................................................................................26
  Trans World Airlines, Inc. v. Hardison,
     432 U.S. 63 (1977) ..............................................................................................21
  Varol v. Pave-Rite, Inc.,
    472 F. App’x 102 (3d Cir. 2012) ........................................................................20

  We The Patriots USA, Inc. v. Hochul,
    17 F.4th 266, 272 (2d Cir.), opinion clarified, 17 F.4th 368 (2d Cir.
    2021), and cert. denied sub nom. Dr. A. v. Hochul, 142 S. Ct. 2569
    (2022) ..............................................................................................................6, 22



                                                               iv
Case 2:22-cv-07509-SDW-JRA                  Document 7-1            Filed 02/27/23         Page 7 of 42 PageID: 46




  We The Patriots USA, Inc. v. Hochul,
    Nos. 21-2179, 21-2566, 2021 WL 5103443 (2d Cir. Oct. 29, 2021) ................... 7

  Yisrael v. Per Scholas, Inc.,
     2004 WL 744485 (S.D.N.Y. Apr. 7, 2004) ........................................................18

  Statutes

  28 U.S.C. § 2201 ......................................................................................6, 13, 35, 36
  42 U.S.C. § 2000e-2(a)(1)..................................................................................19, 21

  42 U.S.C. § 2000e(j) ................................................................................................18
  Title VII of the Civil Rights Act of 1964..........................................................passim
  N.Y. Pub. Health Law § 2806 ..............................................................................6, 23

  Other Authorities
  10 NYCRR Section 2.61(a)(2) ...................................................................................9

  44 N.Y. Reg. 10-14 (June 22, 2022) ........................................................................11
  COVID Data Tracker,
    CDC, https://covid.cdc.gov/covid-data-tracker/#vaccinations_vacc-
    total-admin-rate-total (last visited Feb. 26, 2023) ................................................ 4
  COVID-19 Data Tracker,
    CDC, https://covid.cdc.gov/covid-data-tracker/#datatracker-home
    (last visited Feb. 26, 2023)....................................................................................4
  Fed. R. Civ. P. 12(b)(2)............................................................................................10

  Frequently Asked Questions Regarding the Prevention of COVID-19
     Transmission by Covered Entities Emergency Regulation, New
     York State Department of Health (Aug. 26, 2021), available at
     https://coronavirus.health.ny.gov/system/files/documents/2022/01/
     healthcare-worker-booster-requirement-faqs_0.pdf ...........................................22




                                                            v
Case 2:22-cv-07509-SDW-JRA                    Document 7-1            Filed 02/27/23          Page 8 of 42 PageID: 47




  Letter from Deputy Director Jennifer L. Treacy, Office of Primary
     Care and Health Systems Management, DOH (Nov. 15, 2021),
     available at
     https://www.health.ny.gov/professionals/hospital_administrator/let
     ters/2021/docs/dal_21-11.pdf ............................................................................... 8
  N.Y. Comp. Codes R. & Regs. tit. 10, § 2.61 ............................................................ 9

  N.Y. Comp. Codes R. & Regs. tit. 10 § 2.61(a)(2)..................................................22
  N.Y. Comp. Codes R. & Regs. tit. 10 § 2.61(c)–(d)................................................25

  N.Y. Comp. Codes R. & Regs. tit. 10, § 405.3 (2001) .............................................. 8
  N.Y. Comp. Codes R. & Regs. tit. 10, § 405.3(b)(10)(i)–(ii) (2022) ........................ 8

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    Standing Committee on Emerging Infectious Diseases and 21st
    Century Health Threats, Rapid Expert Consultation on
    Understanding Causes of Health Care Worker Deaths Due to the
    COVID-19 Pandemic (Dec. 10, 2020),
    https://www.nap.edu/read/26018/chapter/1 .......................................................... 7
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  U.S. Const. amend. XIV ..........................................................................................10
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     EEOC Compl. Man., No. 915.003, at 48-49 (Jan. 15, 2021), https://
     www.eeoc.gov/policy/docs/religion.html#_ftnref122. .......................................29

  Variants of the Virus, CDC, https://www.cdc.gov/coronavirus/2019-
    ncov/variants/about-variants.html (last updated Feb. 6, 2023) ............................ 5

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    Rehabilitation Act, and Other EEO Laws at D.15 (last updated July
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    should-know-about-covid-19-and-ada-rehabilitation-act-and-other-
    eeo-laws ..............................................................................................................25




                                                              vi
Case 2:22-cv-07509-SDW-JRA       Document 7-1     Filed 02/27/23    Page 9 of 42 PageID: 48




        Defendant The New York Presbyterian Hospital s/h/a New York Presbyterian

  Hospital (“NYPH” or the “Hospital”) respectfully submits this memorandum of law

  in support of its motion to dismiss the Complaint in its entirety.

                           PRELIMINARY STATEMENT
        Plaintiff is a former Hospital employee who alleges that he was discriminated

  against because of his alleged religious beliefs when he was not granted a religious

  exemption from COVID-19 vaccination or permitted to permanently work remotely

  as an alternative to complying with the COVID-19 vaccination requirement for

  healthcare workers imposed by the New York State Department of Health (the

  “DOH Mandate”). The DOH Mandate requires healthcare institutions to ensure that

  all employees who interact directly or indirectly with patients, staff, or residents are

  vaccinated against COVID-19 unless they qualify for a narrowly prescribed medical

  exemption (for which Plaintiff does not claim he is eligible). Stated plainly, the only

  accommodation permitted by New York State law from the COVID-19 vaccination

  requirement for medically eligible healthcare workers who—like Plaintiff—qualify

  as covered “personnel” is a permanent, fully remote position. For multiple reasons,

  Plaintiff’s Complaint fails as a matter of law and pleading.

        First, Plaintiff has failed to show that NYPH is subject to the general or

  specific personal jurisdiction of this Court. Neither Plaintiff’s allegations that one

  of his job duties required work at a data center located in New Jersey nearly a decade
Case 2:22-cv-07509-SDW-JRA       Document 7-1     Filed 02/27/23    Page 10 of 42 PageID:
                                         49



 ago nor the fact that he worked remotely from his home in New Jersey at the height

 of the pandemic suffice to demonstrate that NYPH had continuous and systematic

 contacts with New Jersey that render the Hospital essentially at home in the forum

 state. Nor do the allegations establish that NYPH purposefully directed its activities

 toward New Jersey or that this case arises from those directed activities.

        Second, Plaintiff’s religious discrimination claim under Title VII of the Civil

 Rights Act of 1964 (“Title VII”) fails. As the Complaint makes clear, Plaintiff’s

 stated beliefs conflict with a requirement imposed by state law, not by the Hospital.

 The Complaint further fails to plausibly allege that the Hospital discriminated

 against Plaintiff because of his asserted religious beliefs. Moreover, as a matter of

 law, the Hospital was not required to either grant an exemption that would permit

 Plaintiff to work onsite without being vaccinated (in violation of the DOH Mandate)

 or create a permanent remote position to accommodate Plaintiff’s asserted religious

 beliefs.

        Third, Plaintiff’s retaliation claim fails because the Complaint is bereft of any

 allegations that give rise to any inference that the Hospital took any action against

 Plaintiff because he engaged in protected activity under Title VII. To the contrary,

 the Complaint and the documents incorporated by reference make clear that the

 Hospital allowed Plaintiff to seek a religious exemption and deemed him to have

 resigned because he refused to comply with the State’s vaccination requirement,

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Case 2:22-cv-07509-SDW-JRA      Document 7-1     Filed 02/27/23    Page 11 of 42 PageID:
                                        50



 which applied to all medically eligible personnel, regardless of whether their

 objections to vaccination were religious or non-religious.

       Fourth, it is clear from the face of the Complaint that Plaintiff’s defamation

 claims fail as a matter of law because the alleged statements were opinions, jokes,

 or true and therefore plainly not defamatory.

       Fifth, Plaintiff has no claim sufficient to support the relief he seeks under the

 Declaratory Judgment Act (“DJA”).

       Accordingly, Plaintiff’s Complaint against NYPH should be dismissed.

                             STATEMENT OF FACTS

       A.     The New York Presbyterian Hospital
       The New York Presbyterian Hospital is a premier not-for-profit hospital

 incorporated and headquartered in New York, Declaration of Kenneth Thibault

 (“Thibault Decl.”) ⁋ 2, with roots in two historic healthcare institutions: the

 New York Hospital founded in 1771 and the Presbyterian Hospital founded in 1868.

 In collaboration with two renowned medical schools, the Columbia University

 Vagelos College of Physicians & Surgeons and Weill Cornell Medicine, the Hospital

 is consistently regarded as a leader in education, ground-breaking medical research,

 and patient-centered care. With more than 6,500 affiliated physicians and over

 20,000 staff, the Hospital provides health care services through multiple world-class




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Case 2:22-cv-07509-SDW-JRA      Document 7-1     Filed 02/27/23   Page 12 of 42 PageID:
                                        51



 campuses located in New York City and Westchester, and receives more than two

 million visits annually, including more than 310,000 emergency department visits.

        B.    The COVID-19 Pandemic and NYPH’s Vaccination Program

        Since its emergence in early 2020, COVID-19 has caused over 103 million

 infections and nearly 1.1 million deaths in the United States.1 These numbers are

 likely an undercount,2 and do not capture the devastating physical and emotional

 toll that the pandemic has unleashed on workers in hospital settings. From the

 beginning of the pandemic, the Hospital has been at the forefront of the fight to help

 prevent the transmission of COVID-19.

        Fortunately, in late 2020 and early 2021, the U.S. Food and Drug

 Administration authorized the use of three COVID-19 vaccines that are highly

 effective at preventing transmission of the virus. More than 671 million doses of

 these vaccines have now been safely administered in the United States.3 The virus,



 1
     See COVID-19 Data Tracker, CDC, https://covid.cdc.gov/covid-data-
     tracker/#datatracker-home (last visited Feb. 26, 2023).
 2
     The National Academies of Sciences, Engineering, and Medicine, Standing
     Committee on Emerging Infectious Diseases and 21st Century Health Threats,
     Rapid Expert Consultation on Understanding Causes of Health Care Worker
     Deaths     Due     to    the   COVID-19       Pandemic      (Dec. 10,    2020),
     https://www.nap.edu/read/26018/chapter/1 (describing how the CDC COVID-19
     Data Tracker relies on data where occupation type and job setting information is
     frequently missing).
 3
     COVID       Data      Tracker,     CDC,        https://covid.cdc.gov/covid-data-
     tracker/#vaccinations_vacc-total-admin-rate-total (last visited Feb. 26, 2023).
                                           4
Case 2:22-cv-07509-SDW-JRA       Document 7-1     Filed 02/27/23    Page 13 of 42 PageID:
                                         52



 however, is constantly changing, resulting in new and sometimes highly infectious

 variants, such as Delta and Omicron, thereby increasing the urgency for more

 individuals to get vaccinated against COVID-19.4

        Healthcare settings in particular present a high risk of contagious disease

 transmission.    As such, several states, including New York, historically have

 required all medically eligible healthcare workers to be vaccinated against certain

 highly communicable diseases. See, e.g., N.Y. Comp. Codes R. & Regs. tit. 10,

 § 405.3(b)(10)(i)–(ii) (2022). For instance, New York state has long required its

 healthcare workers to be vaccinated against measles, rubella, and varicella without

 permitting religious exemptions. N.Y. Comp. Codes R. & Regs. tit. 10, § 405.3

 (2001).

        In June 2021, the Hospital notified all employees, including Plaintiff, that they

 must receive their first dose of the COVID-19 vaccine by September 1, 2021 or else

 obtain an approved exemption. Compl. ¶¶ 27, 29. The Hospital provided employees

 with the opportunity to seek exemptions from the vaccination requirement for

 qualifying religious reasons, among others, and provided instructions on the process

 for submitting an exemption request. See Compl. ¶¶ 27–33.



 4
     As the CDC has advised, “[n]ew variants of . . . the virus that causes COVID-19,
     will continue to occur.”              Variants of the Virus, CDC,
     https://www.cdc.gov/coronavirus/2019-ncov/variants/about-variants.html (last
     updated Feb. 6, 2023).
                                            5
Case 2:22-cv-07509-SDW-JRA       Document 7-1     Filed 02/27/23   Page 14 of 42 PageID:
                                         53



        C.    The New York Department of Health’s Vaccination Mandate
        On August 26, 2021, the DOH issued an emergency regulation mandating that

 hospitals and other healthcare institutions require medically eligible “personnel” to

 be fully vaccinated against COVID 19. See id. ¶ 32; N.Y. Comp. Codes R. & Regs.

 tit. 10, § 2.61. The DOH Mandate defines covered “personnel” as “all persons

 employed . . . with a covered entity . . . who engage in activities such that if they

 were infected with COVID 19, they could potentially expose other covered

 personnel, patients or residents to the disease.” DOH Mandate § 2.61(a)(2). The

 DOH Mandate expressly allows medical, but not religious, exemptions.                Id.

 § 2.61(d); see Compl. ¶ 32. 5 As a New York-based hospital, NYPH was obligated

 to comply with the DOH Mandate and was subject to stringent penalties for

 noncompliance. See N.Y. Pub. Health Law § 2806(1)(a).

        The Second Circuit has upheld the DOH Mandate—and in particular its

 prohibition against religious exemptions for covered personnel—in the face of legal

 challenges brought under Title VII and the U.S. Constitution.            Notably, on

 September 14, 2021, a federal district court (the “Dr. A Court”) issued an order



 5
     See We The Patriots USA, Inc. v. Hochul, 17 F.4th 266, 272 (2d Cir.) (“The [DOH
     Mandate] establishes a medical exemption to the vaccination requirement, but—
     consistent with New York’s prior vaccination requirements for healthcare
     workers—does not include an exemption based on religious belief.”), opinion
     clarified, 17 F.4th 368 (2d Cir. 2021), and cert. denied sub nom. Dr. A. v. Hochul,
     142 S. Ct. 2569 (2022).
                                            6
Case 2:22-cv-07509-SDW-JRA       Document 7-1     Filed 02/27/23   Page 15 of 42 PageID:
                                         54



 temporarily enjoining the DOH Mandate to the extent it required employers to deny

 or revoke approved or pending religious exemption requests. 6 On October 12, 2021,

 the court converted the order into a preliminary injunction, 7 which the Second

 Circuit vacated on October 29, 2021. We The Patriots USA, Inc. v. Hochul, Nos.

 21-2179, 21-2566, 2021 WL 5103443, at *1 (2d Cir. Oct. 29, 2021).                 In a

 November 4, 2021 opinion setting forth the reasons for its decision, the Second

 Circuit held that the plaintiffs were not entitled to a preliminary injunction against

 enforcement of the DOH Mandate because, among other reasons, plaintiffs were

 unlikely to prevail on their claims that the Mandate violated Title VII or the First or

 Fourteenth Amendments of the U.S. Constitution. 17 F.4th at 280–94. The Second

 Circuit noted that, for decades, vaccination has been a condition of employment for

 medically eligible employees in the healthcare field. Id. at 287, 294. The Second

 Circuit further made clear that religious exemptions allowing covered personnel to

 continue working at their current positions while remaining unvaccinated are not

 permitted under the DOH Mandate. Id. at 272, 275.

        On November 15, 2021, the DOH notified all covered entities that, beginning

 November 22, 2021, they must ensure that personnel who were previously granted

 religious exemptions have documentation of either a first dose of a COVID 19


 6
     Dr. A. v. Hochul, 2021 WL 4189533, at *1 (N.D.N.Y. Sept. 14, 2021).
 7
     Dr. A. v. Hochul, 567 F. Supp. 3d 362, 377 (N.D.N.Y. 2021).
                                           7
Case 2:22-cv-07509-SDW-JRA     Document 7-1     Filed 02/27/23   Page 16 of 42 PageID:
                                       55



 vaccine or a valid medical exemption. 8 On June 22, 2022, the DOH Mandate

 became a final rule, making COVID-19 vaccination a permanent requirement for all

 medically eligible healthcare workers. See 44 N.Y. Reg. 10–14 (June 22, 2022).

       D.    Plaintiff’s Employment at the Hospital

       Plaintiff, a citizen of New Jersey, began working for NYPH in 1982 and

 eventually was promoted to the position of Director of Information Technology.

 Compl. ¶¶ 8, 18, 19.     Beginning in 1990, Plaintiff “work[ed] remotely when

 needed.” Id. ¶ 20. From 2007 to 2014, Plaintiff’s job responsibilities included

 managing a data center located in Carlstadt, New Jersey, during which time NYPH

 approved Plaintiff to work a hybrid schedule whereby he could work both from his

 home in New Jersey and in person at the office each week. Id. ¶¶ 13, 21, 22. At all

 times throughout his employment, Plaintiff had an office and reported to a team

 based in New York. Thibault Decl. ¶¶ 5, 8. He worked on-site at the data center

 only occasionally, id. ¶ 5, and as of December 2014 ceased to have any job

 responsibility in New Jersey, id. ¶ 7. On February 28, 2020, at the height of the

 pandemic, Plaintiff (like many employees) temporarily began working remotely on

 a full-time basis while still based in New York. Compl. ¶ 24; Thibault Decl. ¶ 8.



 8
     Letter from Deputy Director Jennifer L. Treacy, Office of Primary Care and
     Health Systems Management, DOH (Nov. 15, 2021), available at
     https://www.health.ny.gov/professionals/hospital_administrator/letters/
     2021/docs/dal_21-11.pdf.
                                          8
Case 2:22-cv-07509-SDW-JRA        Document 7-1    Filed 02/27/23   Page 17 of 42 PageID:
                                          56



        E.    Plaintiff’s Refusal to Comply with the State Law Vaccination
              Requirement
        On July 29, 2021, Plaintiff submitted a request for a religious exemption from

 the COVID-19 vaccination requirement. Id. ¶ 28. The Hospital reviewed the

 information Plaintiff submitted in support of his request and denied the request, after

 which Plaintiff was permitted to (and did) submit additional information in support

 of his request. Id. ¶¶ 30, 31.

        While Plaintiff’s appeal was pending, the DOH issued its Mandate on

 August 26, 2021, and NYPH accordingly informed Plaintiff via e-mail on

 August 30, 2021 that it could no longer consider religious exemption requests. Id.

 ¶ 32; Ex. A. 9 NYPH further communicated that if Plaintiff chose not to comply with

 the vaccination requirement by the September 1, 2021 deadline, he would be placed

 off duty for seven days without pay and, should his non-compliance continue, he

 would “be deemed to have opted to resign.” Ex. A.

        Plaintiff did not comply with the vaccination requirement. Accordingly,

 consistent with its August 30, 2021 notice, NYPH placed Plaintiff off duty and



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     NYPH’s August 30, 2021 communication is referenced in paragraph 32 of the
     Complaint. “The doctrine of incorporation by reference allows a court deciding
     a motion to dismiss to consider a document that is explicitly referred to or relied
     on in the complaint, where the defendant attaches an undisputedly authentic copy
     of that document as an exhibit to the motion to dismiss.” In re Cognizant Tech.
     Sols. Corp. Derivative Litig., 2022 WL 4483595, at *7 n.4 (D.N.J. Sept. 27,
     2022).
                                            9
Case 2:22-cv-07509-SDW-JRA      Document 7-1     Filed 02/27/23   Page 18 of 42 PageID:
                                        57



 without pay for seven days beginning September 4, 2021, and on September 11,

 2021, informed Plaintiff that he had been deemed to have opted to resign. Compl.

 ¶ 34.

         F.   Procedural History
         On December 26, 2022, Plaintiff commenced this lawsuit, asserting

 discrimination and retaliation claims under Title VII, a defamation claim, and a

 purported claim under the DJA. ECF No. 1. In addition, Plaintiff seeks a declaratory

 judgment that NYPH violated Title VII and an injunction requiring NYPH to

 provide religious exemptions and accommodations as an alternative to vaccination

 against COVID-19. Id.

                                    ARGUMENT

         To survive a motion to dismiss under Federal Rule of Civil Procedure

 12(b)(2), “plaintiff must sustain [his] burden of proof in establishing jurisdictional

 facts through sworn affidavits and or other competent evidence.” Miller Yacht Sales,

 Inc. v. Smith, 384 F.3d 93, 101 n.6 (3d Cir. 2004). “At no point may a plaintiff rely

 on the bare pleadings alone in order to withstand a defendant’s Rule 12(b)(2) motion

 to dismiss for lack of in personam jurisdiction.” Time Share Vacation Club v.

 Atlantic Resorts, Ltd., 735 F.2d 61, 66 (3d Cir. 1984) (affirming district court’s

 dismissal for lack of personal jurisdiction where plaintiff submitted “affidavits

 which parrot and do no more than restate plaintiff’s allegations”).


                                          10
Case 2:22-cv-07509-SDW-JRA        Document 7-1     Filed 02/27/23    Page 19 of 42 PageID:
                                          58



       To withstand a motion to dismiss under Federal Rule of Civil Procedure

 12(b)(6), “a complaint must contain sufficient factual matter, accepted as true, to

 ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662,

 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Claims

 are facially plausible only when “the plaintiff pleads factual content that allows the

 court to draw the reasonable inference that the defendant is liable for the misconduct

 alleged.” Id. Under Rule 12(b)(6), “[t]hreadbare recitals of the elements of a cause

 of action, supported by mere conclusory statements, do not suffice.” Golod v. Bank

 of Am. Corp., 403 F. App’x 699, 702 (3d Cir. 2010) (citations omitted). Moreover,

 a court’s assessment of a pleading’s sufficiency and the plausibility of claims under

 Rule 12(b)(6) depends on, among other considerations, “obvious alternative

 explanations which suggest lawful conduct rather than the unlawful conduct the

 plaintiff would ask the court to infer.” George v. Rehiel, 738 F.3d 562, 586 (3d Cir.

 2013).

       Employment discrimination claims are subject to the standard of pleading set

 forth by the Supreme Court in Twombly and Iqbal. The plaintiff’s claim must plead

 “sufficient factual matter that permits the reasonable inference that [he] was

 terminated or retaliated against because of [his protected characteristic].” Golod,

 403 F. App’x at 702.




                                            11
Case 2:22-cv-07509-SDW-JRA        Document 7-1     Filed 02/27/23    Page 20 of 42 PageID:
                                          59



 I.    The Court Lacks Personal Jurisdiction Over Defendant
       Plaintiff’s claims should be dismissed because Plaintiff has failed to establish

 that NYPH is “essentially at home” in New Jersey, or that NYPH has taken any

 actions to “purposefully avail” itself of this State so as to subject it to either general

 or specific jurisdiction in a manner that would not “offend traditional notions of fair

 play and substantial justice.” Int’l Shoe Co. v. Washington, 326 U.S. 310, 316

 (1945). To the contrary, there is no dispute that NYPH is incorporated and has its

 principal place of business in New York. Thibault Decl. ⁋ 2; Compl. ¶ 6. And, the

 Complaint is bereft of any allegations demonstrating that NYPH purposefully

 directed its activities at New Jersey or that Plaintiff’s claims arose out of such

 activities. Daimler AG v. Bauman, 571 U.S. 117, 139 (2014). With no plausible

 basis for establishing personal jurisdiction over NYPH, Plaintiff’s claims must be

 dismissed.

       A.     No General Jurisdiction Exists Over NYPH
       Plaintiff cannot meet his burden of establishing a prima facie case of general

 personal jurisdiction.    New Jersey's long-arm statute provides for jurisdiction

 coextensive with the due process requirements of the United States Constitution.”

 Miller Yacht Sales, 384 F.3d at 96 (citing N.J. Ct. R. 4:4–4(c)). General jurisdiction

 exists in the place where the corporation is incorporated or has its principal place of

 business. See Daimler AG v. Bauman, 571 U.S. 117, 137 (2014). While such


                                            12
Case 2:22-cv-07509-SDW-JRA       Document 7-1      Filed 02/27/23   Page 21 of 42 PageID:
                                         60



 “paradigm . . . base[s] for general jurisdiction” are not exhaustive, id. 139 n. 19, this

 Circuit has cautioned that “it is incredibly difficult to establish general jurisdiction

 over a corporation in a forum other than the place of incorporation or principal place

 of business.” Malik v. Cabot Oil & Gas Corp., 710 F. App’x 561, 564 (3d Cir. 2017)

 (internal quotation marks omitted).

       NYPH is not subject to general jurisdiction in New Jersey because it is

 incorporated in New York and has its principal place of business in New York.

 Thibault Decl. ⁋ 2; see Compl. ¶ 6. Plaintiff fails to allege any facts that would

 render NYPH “essentially at home” in New Jersey, nor could he. In Fuentes v.

 Mehra, the court held that “doing business in New Jersey” through cancer center

 locations within New Jersey was insufficient to subject a Pennsylvania hospital to

 general jurisdiction. 2015 WL 3754705, at 4, n.4 (D.N.J. June 15, 2015). NYPH

 operates its healthcare locations exclusively in New York, Thibault Decl. ⁋ 3, and

 Plaintiff’s vague allegation that NYPH owns, operates and/or leases data centers in

 New Jersey “plainly do[es] not approach [the] level” of “operations . . . so

 substantial and of such a nature as to render [NYPH] at home in [New Jersey].”

 Daimler AG v. Bauman, 571 U.S. 117, 139 n.19 (2014); see also Fuentes, 2015 WL

 3754705, at *4 (finding that hospital was not “at home” in New Jersey “because it

 is incorporated in Pennsylvania and has its principal place of business in

 Pennsylvania.”).

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Case 2:22-cv-07509-SDW-JRA       Document 7-1      Filed 02/27/23   Page 22 of 42 PageID:
                                         61



       B.     No Specific Jurisdiction Exists Over NYPH
       Absent general jurisdiction, Plaintiff bears the burden of showing that the

 Hospital is subject to specific jurisdiction of the court. In Burger King Corp., the

 Supreme Court set out a three-part test for establishing specific jurisdiction over a

 non-resident defendant, which the Third Circuit has adopted: The plaintiff must

 show that (1) the defendant has “purposefully directed [its] activities at the forum;

 (2) the litigation must “arise out of or relate” to at least one of those activities; and

 (3) exercise of jurisdiction would “comport with fair play and substantial justice.”

 Corigliano v. Classic Motor, Inc., 611 F. App’x 77, 79–80 (3d Cir. 2015) (quoting

 Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472, 476 (1985)). Plaintiff has not,

 and cannot, make this showing.

       Plaintiff appears to contend that NYPH is subject to specific jurisdiction

 because he sometimes performed work at one NYPH data center in New Jersey for

 7 years, from 2007 to 2014, out of his 40-plus-year tenure. Id. ¶¶ 7, 13, 21.

 However, by Plaintiff’s own admission, this work ended in December 2014, nearly

 seven years before the events at issue and has no bearing on his allegations of

 religious discrimination, retaliation, or defamation. Id. ¶ 13; Thibault Decl. ⁋⁋ 4–8.

 In fact, since 2015, Plaintiff has had no job responsibility requiring his presence in

 New Jersey. Thibault Decl. ⁋ 7. As such, any contention that the events which gave

 rise to this litigation—all of which occurred in 2021—arise out of or relate to


                                            14
Case 2:22-cv-07509-SDW-JRA       Document 7-1     Filed 02/27/23    Page 23 of 42 PageID:
                                         62



 Plaintiff’s work at a New Jersey data center in 2007 to 2014 is simply meritless.

 Fuentes, 2015 WL 3754705, at *3 (finding no specific jurisdiction where plaintiff

 failed to show the alleged wrongful act arose from defendant’s in-state activities);

 Castoria v. Berlin Int’l Colorado, L.L.C., 2018 WL 3000173, at *7 (D.N.J. June 14,

 2018) (finding no specific jurisdiction where plaintiff’s claim—that he was

 terminated after complaining about the company’s alleged purchase of unapproved

 clones—did not arise out of defendant’s alleged forum contact).

       Nor does the fact of Plaintiff’s New Jersey residence suffice to establish

 personal jurisdiction over the Hospital in New Jersey. “In remote-work cases, . . . a

 defendant’s mere knowledge that an employee happens to reside in the forum state

 and conduct some work from home does not constitute purposeful availment.”

 Perry v. Nat’l Ass’n of Home Builders of U.S., 2020 WL 5759766, at 5 (D. Md.

 Sept. 28, 2020) (collecting cases). In such cases, “the plaintiff’s decision to work

 remotely from [another state] was a unilateral decision that the foreign . . . defendant

 employer merely accommodated,” which is insufficient to establish specific

 jurisdiction. Id. (internal quotation marks and citation omitted) (collecting cases);

 see Rodi v. S. New England Sch. of Law, 255 F. Supp. 2d 346, 350–51 (D.N.J. 2003)

 (finding that defendant school’s response to N.J. plaintiff’s unilateral actions to seek

 information from an out-of-state school did not give rise to specific jurisdiction).




                                           15
Case 2:22-cv-07509-SDW-JRA      Document 7-1     Filed 02/27/23   Page 24 of 42 PageID:
                                        63



       Similarly here, Plaintiff has not alleged that the Hospital hired Plaintiff

 specifically to perform work in New Jersey or that his work on behalf of the Hospital

 at the time of his separation supported any activities in New Jersey. To the contrary,

 he alleges that he was hired by a New York employer in 1982, that he managed and

 oversaw a New Jersey-based data center (as one part of his job duties) for only 7

 years of his 40-year tenure (from 2007 – December 2014), and that he was permitted

 to work on a hybrid schedule which required him to work in-person in NYPH’s

 New York offices part-time until the start of the pandemic, when he was permitted

 to work remotely full-time on a temporary and conditional basis, pursuant to the

 terms of his telecommuting agreement. Compl. ¶¶ 6, 13, 18, 20–22, 36; Ex. B

 (telecommuting agreement). Indeed, at all times during Plaintiff’s employment,

 Plaintiff’s assigned office was in New York and he reported to a team in New York.

 Thibault Decl. ⁋ 5. After December 2014 and through the end of his employment—

 including the time period during which his claims arose— none of his job

 responsibilities required him to be in New Jersey. Id. ⁋⁋ 7–8.

       Because Plaintiff has not stated allegations (nor could he) sufficient to show

 that his claims arise out of any activities that NYPH purposefully directed at

 New Jersey, the Complaint should be dismissed for lack of personal jurisdiction. See

 Callahan v. Wisdom, 2020 WL 2061882, at *12 (D. Conn. Apr. 29, 2020) (no

 personal jurisdiction where defendant’s contacts with the forum state “as they related

                                          16
Case 2:22-cv-07509-SDW-JRA       Document 7-1     Filed 02/27/23   Page 25 of 42 PageID:
                                         64



 to the instant dispute begin and end with [the plaintiff]” (citing Walden v. Fiore, 571

 U.S. 277, 285 (2014))); cf. Burger King, 471 U.S. at 480 (minimum contacts test met

 where defendant “entered into a carefully structured 20-year relationship that

 envisioned continuing and wide-reaching contacts with Burger King in Florida”).

 II.   Plaintiff Fails to State a Religious Discrimination Claim Under Title VII

       Plaintiff claims that he was discriminated against on the basis of his religious

 views in violation of Title VII when he was not permitted to work onsite while

 unvaccinated or given a permanent remote work position as an alternative to

 complying with the COVID-19 vaccination requirement for healthcare workers

 imposed by the DOH Mandate and the Hospital thereafter deemed him to have

 resigned from employment on September 11, 2021 due to his non-compliance.

       To state an employment discrimination claim under Title VII, a plaintiff must

 plausibly plead that: (1) he holds a sincere religious belief that conflicted with an

 employment requirement, (2) he informed his employer of the conflict, (3) he

 suffered an adverse employment action due to his decision not to comply with the

 conflicting requirement, and (4) the circumstances surrounding the adverse

 employment action give rise to an inference of unlawful discrimination.            See

 Fallon v. Mercy Catholic Med. Ctr. of Se. Penn., 877 F.3d 487, 490 (3d Cir. 2017);

 Groeber v. Friedman, 555 F. App’x 133, 135 (3d Cir. 2014); Lowman v. NVI LLC,

 821 F. App’x 29, 31–32 (2d Cir. 2020). Although the plaintiff need not establish


                                           17
Case 2:22-cv-07509-SDW-JRA       Document 7-1     Filed 02/27/23   Page 26 of 42 PageID:
                                         65



 each of these prima facie elements at the pleading stage, he must “put forth

 allegations that raise a reasonable expectation that discovery will reveal evidence of

 the necessary elements.” Groeber, 555 F. App’x at 135 (citation omitted). Even

 where such elements are plausibly pleaded, employer liability under Title VII is

 precluded where providing the requested religious accommodation would impose an

 “undue hardship” on the employer. See 42 U.S.C. § 2000e(j); Groff v. DeJoy, 35

 F.4th 162, 174 (3d Cir. 2022), cert. granted, 143 S. Ct. 646 (2023).

       As described below, it is evident from the face of the Complaint, and

 demonstrated by well-settled precedent, that Plaintiff’s claims fail as a matter of law

 and pleading.

       A.     The Complaint Fails to Plausibly Plead That Plaintiff’s Stated
              Beliefs Conflict with an Employment Requirement.
       To establish a prima facie case of religious discrimination, Plaintiff must

 plead that his alleged beliefs “conflicted with a job requirement.” Fallon, 877 F.3d

 at 490. Where, as here, the complaint makes clear that the plaintiff’s religious

 objection “conflicts not with an employment requirement, but with [state] law,” he

 cannot establish a prima facie case of religious discrimination under Title VII.

 Yisrael v. Per Scholas, Inc., 2004 WL 744485, at *3 (S.D.N.Y. Apr. 7, 2004) (no

 prima facie case where religious belief conflicted “not with an employment

 requirement, but with federal law”).      Here, Plaintiff alleges that the Hospital

 approved “a hybrid schedule” that enabled him to “work[] remotely from his home
                                           18
Case 2:22-cv-07509-SDW-JRA     Document 7-1     Filed 02/27/23   Page 27 of 42 PageID:
                                       66



 for the majority”—but not all of—“the time.” Compl. ¶¶ 23–24. The Complaint

 thus makes clear that Plaintiff could have “potentially expose[d] other covered

 personnel, patients or residents” to COVID-19, thereby satisfying the definition of

 covered “personnel.” N.Y. Comp. Codes R. & Regs. tit. 10 § 2.61(a)(2) (emphasis

 added). Because Plaintiff’s refusal to become vaccinated conflicts with a state law

 requirement to which he was subject, his claims require dismissal.

       B.    The Complaint Fails to Plausibly Plead That Any Adverse Action
             was “Because of” Plaintiff’s Religious Beliefs.
       Plaintiff’s religious discrimination claims also must be dismissed because the

 Complaint fails to plead facts that support an inference that the Hospital

 discriminated against him “because of” his religion, as required to establish a

 Title VII discrimination claim. 42 U.S.C. § 2000e-2(a)(1); Groeber , 555 F. App’x

 at 135; Lowman, 821 F. App’x at 31. It is well settled that dismissal of Title VII

 claims is warranted at the pleading stage where plaintiffs do “not allege that [they

 were] discriminated against because of [their] religion.”       Sealey v. Affiliated

 Comput. Servs., Inc., 2012 WL 729217, at *3 (W.D.N.Y. Mar. 6, 2012), aff’d, 522

 F. App’x 35 (2d Cir. 2013); see Reyes v. Westchester Cty. Health Care Corp., 2021

 WL 4944285, at *4 (2d Cir. Oct. 25, 2021) (affirming dismissal of failure-to-

 accommodate claim where the plaintiff failed to allege that her employer

 discriminated against her “because of” her national origin); cf. Groeber, 555 F.

 App’x at 135 (affirming dismissal of Title VII race discrimination claim for failure
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Case 2:22-cv-07509-SDW-JRA       Document 7-1     Filed 02/27/23   Page 28 of 42 PageID:
                                         67



 to plead facts demonstrating discriminatory motive or that “someone similarly

 situated was treated more favorably”); Varol v. Pave-Rite, Inc., 472 F. App’x 102,

 103–104 (3d Cir. 2012) (similar).

       In Billings, for example, the court dismissed a Title VII religious

 discrimination claim as it was clear from the pleadings that the employee was

 “dismissed for non-discriminatory reasons.” Billings v. N.Y.S. Dep’t of Corr. &

 Cmty. Supervision, 2021 WL 4150925, at *6 (S.D.N.Y. Sept. 10, 2021). Similarly,

 here, the Complaint makes clear that Plaintiff was separated because the NYS DOH

 adopted a COVID-19 vaccination requirement for healthcare workers that

 “exclude[d] religious exemptions as an alternative to receiving the vaccine.” Compl.

 ¶¶ 32–33. Indeed, Plaintiff has not plausibly alleged (nor could he) any suggestion

 of animus, let alone that Plaintiff’s religious beliefs contributed to the Hospital’s

 decision to enforce its vaccination requirement. See Hussain v. Nicholson, 435 F.3d

 359, 365 (D.C. Cir. 2006) (rejecting Title VII claim and concluding that the district

 court properly disregarded plaintiff’s allegations “of religious animus” because they

 “consisted merely of conclusory allegations”); Hashmi v. City of Jersey City, 2021

 WL 4059852, at *8 (D.N.J. Sept. 7, 2021) (dismissing disparate treatment claim

 where plaintiff failed to allege sufficient facts that he was “treated differently than

 similarly situated non-religious employees”). To the contrary, the Complaint makes

 clear that the Hospital permitted religious exemptions until it was prohibited from

                                           20
Case 2:22-cv-07509-SDW-JRA       Document 7-1     Filed 02/27/23    Page 29 of 42 PageID:
                                         68



 doing so by state law, Compl. ¶¶ 27–28, 32–33, and fails to allege that similarly

 situated employees who refused to be vaccinated for non-religious reasons were

 treated differently. Accordingly, because Plaintiff’s own allegations make clear that

 the Hospital did not discriminate against him “because of” his religion, 42 U.S.C.

 § 2000e-2(a)(1), Plaintiff’s religious discrimination claims fail and should be

 dismissed.

       C.     As a Matter of Law, the Hospital was Not Required to Provide
              Plaintiff with a Religious Accommodation from the Vaccination
              Requirement.
       Even if the vaccination requirement was deemed to be a Hospital requirement,

 the Hospital was not obligated to provide Plaintiff with a religious accommodation

 because doing so would constitute undue hardship as a matter of well-settled law.

 In the Title VII context, “undue hardship” means “more than a de minimis cost” on

 the operation of the employer’s business.         See Trans World Airlines, Inc. v.

 Hardison, 432 U.S. 63, 84 (1977). Here, accommodating Plaintiff’s beliefs by

 permitting him either to remain employed in the same role, without being vaccinated

 against COVID-19, or to work fully remotely on a permanent basis would have

 amounted to more than a de minimis cost to the Hospital.

       Contrary to Plaintiff’s contention that the Hospital could have accommodated

 Plaintiff by granting an exemption from COVID-19 vaccination and permitting him

 to undergo regular testing instead, Compl. ¶¶ 38, 64–65, 69, it is well settled that the


                                           21
Case 2:22-cv-07509-SDW-JRA      Document 7-1     Filed 02/27/23   Page 30 of 42 PageID:
                                        69



 DOH Mandate does not permit religious exemptions. See, e.g., N.Y. Comp. Codes

 R. & Regs. tit. 10 § 2.61(c)–(d); We The Patriots USA, Inc. v. Hochul , 17 F.4th 266,

 272 (2d Cir. 2021). As the DOH Commissioner has stated: “there are no religious

 exemptions provided for through [the DOH Mandate].”10

         Undue hardship exists where, as here, accommodating an employee’s

 religious beliefs would require the employer to violate state law. For instance, in

 Lowman v. NVI LLC, the Second Circuit affirmed the district court’s decision

 granting an employer’s motion to dismiss the Plaintiff’s Title VII religious

 discrimination claim on the ground that the accommodation sought would have

 caused the employer to violate federal law and subject the employer to potential

 penalties. 821 F. App’x at 31–32. Likewise, in Does 1-2 v. Hochul, the court

 granted the Hospital’s motion to dismiss virtually identical Title VII claims brought

 by former employees because granting the employees’ requested religious

 exemptions from COVID-19 vaccination would have violated the DOH Mandate.

 2022 WL 4637843, at *15–16 (E.D.N.Y. Sept. 30, 2022) (“The . . . accommodation

 the plaintiffs seek—a religious exemption from the vaccine requirement—would




 10
      See Frequently Asked Questions (FAQs) Regarding the Prevention of COVID-
      19 Transmission by Covered Entities Emergency Regulation, N.Y. Dep’t of
      Health                     (Aug.                   26,                  2021),
      https://coronavirus.health.ny.gov/system/files/documents/2022/01/healthcare-
      worker-booster-requirement-faqs_0.pdf.
                                          22
Case 2:22-cv-07509-SDW-JRA      Document 7-1     Filed 02/27/23   Page 31 of 42 PageID:
                                        70



 impose an undue hardship on the Private Defendants because it would require them

 to violate state law.”) (citations omitted); see also Lowe v. Mills, 2022 WL 3542187,

 at *6–10 (D. Me. Aug. 18, 2022) (same). Many courts have reached the same

 conclusion. See Bey v. City of New York, 999 F.3d 157, 170 (2d Cir. 2021)

 (“Title VII cannot be used to require employers to depart from binding . . .

 regulations.”); Sutton v. Providence St. Joseph Med. Ctr., 192 F.3d 826, 830 (9th

 Cir. 1999) (same); Bhatia v. Chevron U.S.A., Inc., 734 F.2d 1382, 1383–84 (9th Cir.

 1984) (same); Hamilton v. City of New York, 563 F. Supp. 3d 42, 49 (E.D.N.Y.

 2021) (same). Accommodating Plaintiff by allowing him to remain in his position

 unvaccinated would have violated the DOH Mandate, thereby subjecting the

 Hospital to severe penalties, including potential revocation of its operating license.

 See N.Y. Public Health Law § 2806.

       Undue hardship also exists as a matter of law where, as here, the

 accommodation sought—namely allowing Plaintiff to perform his in-person job

 duties unvaccinated—“would either cause or increase safety risks or the risk of legal

 liability for the employer.” Robinson v. Children’s Hosp. Bos., 2016 WL 1337255,

 at *8 (D. Mass. Apr. 5, 2016) (internal quotation marks and citation omitted); see

 also Does 1-2, 2022 WL 4637843, at *16 (concluding at the pleading stage that

 “[e]xempting the plaintiffs from the [DOH Mandate] would expose vulnerable

 patients and nursing home residents, as well as other healthcare workers, to the

                                          23
Case 2:22-cv-07509-SDW-JRA       Document 7-1    Filed 02/27/23   Page 32 of 42 PageID:
                                         71



 COVID-19 virus, which is obviously a significant hardship”). “Title VII does not

 require employers to test their safety policies on employees to determine the

 minimum level of protection needed to avoid injury.” Robinson, 2016 WL 1337255,

 at *8 (citation omitted). Because the law does not impose an obligation on the

 Hospital to bear the public health and legal risks posed by permitting Plaintiff to

 perform his job duties unvaccinated, his claims should be dismissed on undue

 hardship grounds. See Lowman, 821 F. App’x at 32.

         Nor does the law require the Hospital to create a new, fully remote position

 for Plaintiff. As the Complaint makes clear, although Plaintiff was temporarily

 permitted to work remotely at the height of the pandemic, Plaintiff’s job duties

 generally required him to work onsite with other staff. See Compl. ¶¶ 20–24, 35–

 36. And, as the EEOC has recognized, the fact that an employer has, at times,

 “chose[n] to permit telework, does not mean that the employer permanently changed

 a job’s essential functions, that telework is always a feasible accommodation, or that

 it does not pose an undue hardship.” 11 In sum, the law does “not obligate[]

 [employers] to create a position to accommodate an employee’s religious beliefs.”




 11
      EEOC, What You Should Know About COVID-19 and the ADA, the
      Rehabilitation Act, and Other EEO Laws at D.15 (last updated July 12, 2022),
      available at https://www.eeoc.gov/wysk/what-you-should-know-about-covid-
      19-and-ada-rehabilitation-act-and-other-eeo-laws.
                                          24
Case 2:22-cv-07509-SDW-JRA        Document 7-1    Filed 02/27/23   Page 33 of 42 PageID:
                                          72



 Robinson, 2016 WL 1337255, at *8 (collecting cases).12 For this additional reason,

 Plaintiff’s claims should be dismissed.

         D.    The Complaint Does Not Plausibly Allege That the Hospital Failed
               to Engage in the Interactive Process under Title VII.
         Plaintiff’s conclusory claim that the Hospital failed to engage in the

 interactive process under Title VII (Compl. ¶¶ 66–67) also fails. As an initial matter,

 as courts in the Third Circuit have recognized, the alleged failure to engage in the

 interactive process—in and of itself—does not constitute an independent cause of

 action under Title VII. See Miller v. Port Auth. of N.Y. & N.J., 788 F. App’x 886,

 890, n.19 (3d Cir. 2019); see also Dodd v. SEPTA, 2008 WL 2902618, at *9 n.6

 (E.D. Pa. July 23, 2008) (noting that Title VII does not have interactive process

 requirement); Frilando v. New York City Transit Auth., 513 F. Supp. 3d 356, 364

 (S.D.N.Y. 2021) (“[F]ailure to engage in a good-faith interactive process is . . . not

 an independent cause of action” under Title VII), aff’d, 2022 WL 3569551 (2d Cir.

 Aug. 19, 2022). In its Compliance Manual on Religious Discrimination, the EEOC




 12
      Title VII also does not require the Hospital to accommodate Plaintiff by forcing
      other staff to assume his in-person duties. “[C]ourts have routinely held that the
      adverse effects that accommodations for religious practices might have on other
      employees can constitute undue hardship on the employer.” Sides v. N.Y.S. Div.
      of State Police, 2005 WL 1523557, at *5 (N.D.N.Y. June 28, 2005).
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Case 2:22-cv-07509-SDW-JRA        Document 7-1     Filed 02/27/23   Page 34 of 42 PageID:
                                          73



 expressly counsels that “[f]ailure to confer with the employee is not an independent

 violation of Title VII.” 13

         Regardless, as the Complaint expressly alleges, Plaintiff availed himself of the

 Hospital’s robust procedures by submitting a religious exemption request and

 participating in the Hospital’s appeal process upon being informed that the Hospital

 had denied his initial request. Compl. ¶¶ 27–31. Courts have found that it is unlikely

 that complainants “will succeed in establishing a violation of Title VII for failure to

 engage in an ‘interactive process’” on similar facts. See, e.g., Together Emps. v.

 Mass Gen. Brigham Inc., 573 F. Supp. 3d 412, 441–42 (D. Mass. 2021), aff’d, 32

 F.4th 82 (1st Cir. 2022) (employer engaged in an interactive process in good faith

 where it formed a Religious Exemption Review Committee and permitted

 employees to send additional supporting documentation); Barrington v. United

 Airlines, Inc., 566 F. Supp. 3d 1102, 1110 (D. Colo. 2021) (holding that plaintiff was

 unlikely to succeed in establishing a violation of Title VII for failure to engage in

 interactive process where defendant represented “that employees who had requested

 accommodation were notified via email of the proposed accommodation and given

 five days to respond”). The Complaint makes clear that the Hospital had a robust




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      U.S. Equal Emp’t Opportunity Comm’n, Directives Transmittal: EEOC Compl.
      Man., No. 915.003, at 48–49 (Jan. 15, 2021), https://www.eeoc.gov/policy/docs/
      religion.html#_ftnref122.
                                            26
Case 2:22-cv-07509-SDW-JRA       Document 7-1     Filed 02/27/23   Page 35 of 42 PageID:
                                         74



 process to make religious exemptions available until the DOH Mandate prohibited

 them.

         Moreover, several courts have resoundingly rejected claims based on a

 purported failure to engage in the interactive process where, as here, the

 accommodation sought would constitute an undue burden as a matter of law. See,

 e.g., Taylor v. Phoenixville Sch. Dist., 184 F.3d 296, 316 n.7 (3d Cir. 1999)

 (“[E]mployee will be at fault for the breakdown in the interactive process” for

 insisting on proposed accommodation that is “unreasonable as a matter of law.”).

 For example, in McBride v. BIC Consumer Prods., the Second Circuit held that an

 employer’s failure to engage in a sufficient interactive process cannot form the basis

 of an ADA claim “if no reasonable accommodation was possible.” 583 F.3d 92,

 100–01 (2d Cir. 2009) (quoting EEOC v. Sears, Roebuck & Co., 417 F.3d 789, 805

 (7th Cir. 2005) and Fjellestad v. Pizza Hut of America, Inc., 188 F.3d 944, 952 (8th

 Cir. 1999)); see also Frilando, 513 F. Supp. 3d at 365(no violation of duty to engage

 in an interactive process under federal, state, city laws where defendants

 “corresponded with [plaintiff] . . . considered the requests, and discussed alternative

 accommodations”). Because that reasoning applies equally here—namely, the

 accommodation sought by Plaintiff would either require NYPH to violate State law

 or create a new, permanently remote job position— Plaintiff’s interactive process

 claim fails as a matter of law and pleading.

                                           27
Case 2:22-cv-07509-SDW-JRA       Document 7-1     Filed 02/27/23   Page 36 of 42 PageID:
                                         75



 III.   Plaintiff Fails to State a Retaliation Claim Under Title VII
        Plaintiff further does not (and cannot) plausibly plead a retaliation claim in

 violation of Title VII. To establish a claim for retaliation under Title VII, Plaintiff

 must demonstrate that: (1) he participated in a protected activity; (2) the Hospital

 was aware of that activity; (3) the Hospital took an employment action

 disadvantaging him; and (4) there exists a causal connection between the protected

 activity and the adverse action. See Blakney v. City of Philadelphia, 559 F. App’x

 183, 185 (3d Cir. 2014). To establish a causal connection, Plaintiff must plausibly

 allege that his “protected activity was a but-for cause of the alleged adverse action

 by the employer.” Id. (quoting Univ. of Texas Sw. Med. Ctr. v. Nassar, 570 U.S.

 338, 362 (2013)). Although “temporal proximity between the employer’s protected

 activity and the alleged retaliatory action may satisfy the causal link element . . .

 where the timing is unusually suggestive of retaliatory motive,” the “mere fact” that

 the adverse action occurred after the protected activity “will ordinarily be

 insufficient to satisfy the plaintiff’s [pleading] burden.” Blakney, 559 F. App’x at

 185–86 (cleaned up).

        Plaintiff alleges that the Hospital retaliated against him by denying his

 religious exemption request and terminating him. Compl. ¶¶ 38–39, 60, 78. His

 threadbare allegations fail to give rise to any inference of retaliatory intent on the

 basis of religion. The Complaint is devoid of well-pleaded facts demonstrating that


                                           28
Case 2:22-cv-07509-SDW-JRA         Document 7-1     Filed 02/27/23    Page 37 of 42 PageID:
                                           76



 his request for a religious exemption was the reason for his separation from the

 Hospital, as opposed to his failure to comply with a vaccination requirement

 imposed by State law on all medically-eligible covered personnel. To the contrary,

 as the Complaint alleges, the Hospital made religious exemptions available to all

 employees, including providing an appeal process, and discontinued providing

 religious exemptions only because State law required it to do so. Compl. ¶¶ 32–33.

 Furthermore, as Plaintiff admits, the Hospital gave him repeated notice of, and

 opportunities to comply with, the DOH Mandate’s vaccination requirement, and

 only separated him because he chose not to do so. Id. ¶¶ 27–34. 14

         Nor can Plaintiff point to temporal proximity as an indirect indicator of causal

 connection. The Third Circuit has held that temporal proximity is measured from

 when the employee first engages in protected activity and that “a temporal proximity



 14
      At most Plaintiff alleges that the Hospital’s Chief Information Officer (“CIO”)
      expressed his view at an unspecified time that religious exemption requests
      would be denied (which, as discussed above, the DOH Mandate required) and
      that a Vice President of Human Resources made jokes about employees who
      requested religious exemptions. Compl. ¶¶ 45–50. But those factual recitals
      include “very little information about the context or content” of the interactions
      and “amount to unadorned, the defendant-unlawfully-harmed-me accusations,”
      which are insufficient to state a Title VII claim. Maharaj v. Time Warner Cable,
      Inc., 2014 WL 7366101, at *3–*4 (D.N.J. Dec. 17, 2014). Moreover, the
      Complaint is bereft of any facts suggesting that either employee was involved in
      the decision to separate Plaintiff or (as explained above) that Plaintiff’s religious
      exemption request (which the Hospital permitted Plaintiff to submit before the
      DOH Mandate issued) played any role in the decision to separate Plaintiff, as
      opposed to the Hospital’s need to comply with State law.
                                             29
Case 2:22-cv-07509-SDW-JRA      Document 7-1     Filed 02/27/23   Page 38 of 42 PageID:
                                        77



 greater than ten days requires supplementary evidence of retaliatory motive,” such

 as evidence that the plaintiff was subjected to “a pattern of antagonism”—i.e., “a

 constant barrage of written and verbal warnings and disciplinary actions, all of which

 occurred soon after plaintiff’s initial complaints”—or a “showing that the employer

 gave inconsistent records for terminating the employee.” Blakney, 559 F. App’x at

 186 (cleaned up). Because the Complaint fails to allege any evidence of retaliatory

 motive whatsoever—and, indeed, demonstrates that NYPH deemed Plaintiff to have

 resigned in order to comply with State law— Plaintiff’s retaliation claim must be

 dismissed.

 IV.   Plaintiff Fails to State a Defamation Claim
       Plaintiff asserts that two of NYPH’s employees harmed Plaintiff’s reputation

 among his former IT colleagues by (i) expressing a “personal opinion” on religious

 exemption requests; (ii) making “jokes” about employees who requested religious

 exemptions; and (iii) communicating during a Town Hall meeting that Plaintiff

 “resigned from his position as Director of IT.” Compl. ¶¶ 45–54, 80–89. Plaintiff

 alleges that the purported statements by the NYPH employees led his former

 colleagues—upon whom he must rely for favorable references to obtain new

 employment—to believe that Plaintiff “voluntarily abandoned” his position when

 “in fact he was terminated as a result of his religion.” Id. ¶¶ 82, 84–85. To state a

 claim for defamation under New Jersey law, Plaintiff must plausibly plead that


                                          30
Case 2:22-cv-07509-SDW-JRA      Document 7-1     Filed 02/27/23   Page 39 of 42 PageID:
                                        78



 Defendant (1) made a false and defamatory statement concerning the plaintiff,

 (2) communicated the statement to a third party, and (3) had fault amounting at least

 to negligence. See Read v. Profeta, 397 F. Supp. 3d 597, 650 (D.N.J. 2019). To

 determine if a statement is defamatory, a court must consider “(1) the content, (2)

 the verifiability, and (3) the context of the challenged statements.” Id. at 651. As

 described below, none of the statements pleaded by Plaintiff are defamatory as a

 matter of law.

         First, Plaintiff alleges that during team meetings NYPH’s CIO discussed how

 employees, including Plaintiff, had requested religious exemptions and further

 “expressed his personal opinion” that such requests would not be granted and should

 be discouraged. Compl. ¶¶ 48–49. As a matter of law, pure statements of opinion

 cannot support a defamation claim. See Mangan v. Corp. Synergies Group, Inc.,

 834 F. Supp. 2d. 199, 205 (D.N.J. 2011) (dismissing defamation claim based on

 opinion statements because “such statements only reflect a state of mind and

 therefore generally cannot be proved true or false”) (internal citations and quotation

 marks omitted). As alleged by Plaintiff, the CIO’s statements were “his personal

 opinion” and thus not defamatory as a matter of law.15




 15
      Although Plaintiff does not allege exactly when the CIO made these statements,
      if they were made after the DOH Mandate was issued on August 26, 2021, then
      they were true. As described above, the Hospital informed employees that,
                                           31
Case 2:22-cv-07509-SDW-JRA      Document 7-1     Filed 02/27/23   Page 40 of 42 PageID:
                                        79



       Second, Plaintiff claims that the Hospital’s Vice President of Human

 Resources made jokes about employees who requested religious exemptions.

 Compl. ¶ 50. Such allegations also are insufficient to plead a defamation claim. To

 qualify as a defamatory statement, the statement must be able to be proven true or

 false. See Mangan, 834 F. Supp. 2d at 205. Common sense dictates, and courts have

 recognized, that jokes, like opinions, are not subject to verification. See, e.g.,

 Avenatti v. Fox News Network, LLC, 2021 WL 3603035, at *2 (D. Del. Aug. 13,

 2021) (“When a statement is clearly a mere joke there is no defamation.”)

 (alterations omitted).

       Third, Plaintiff alleges that, after he was deemed to have resigned, NYPH’s

 CIO defamed him by announcing his resignation at a Town Hall. Compl. ¶¶ 51–54,

 81–89. Plaintiff claims this statement was false because “in fact he was terminated

 as a result of his religion.” Id. ¶ 82. But, as described above, NYPH deemed

 Plaintiff to have resigned due to his failure to comply with the DOH Mandate, not

 because of his religious beliefs. Compl. ¶¶ 32–33; supra pp. 9–10. Thus, the CIO’s

 statement that Plaintiff had resigned was true. The truth of a statement is a complete

 defense to a defamation action. Read, 397 F. Supp. 3d at 651. Therefore, the truth

 of the CIO’s statement bars Plaintiff’s defamation claim.



    pursuant to the DOH Mandate, it could not grant religious exemption requests.
    See supra p. 9; Ex. A.
                                          32
Case 2:22-cv-07509-SDW-JRA       Document 7-1     Filed 02/27/23   Page 41 of 42 PageID:
                                         80



 V.    Plaintiff Fails to State a Declaratory Judgment Act Claim
       The Complaint also fails to state a claim under the DJA. It is well established

 that the DJA “is a procedural vehicle that creates a form of relief; it does not create

 a cause of action courts may be compelled to enforce.” In re AZEK Bldg. Prods.,

 Inc. Litig., 82 F. Supp. 3d 608, 624–25 (D.N.J. 2015); see Mutasa v. U.S. Citizenship

 & Immigr. Serv., 531 F. Supp. 3d 888, 893 n.4 (D.N.J. 2021) (“[T]he DJA does not

 create a separate cause of action, just ‘a remedy for controversies otherwise properly

 within the court’s subject-matter jurisdiction.’” (citing Auto-Owners Ins. Co. v.

 Stevens & Ricci Inc., 835 F.3d 388, 394 (3d Cir. 2016))). Accordingly, Plaintiff’s

 DJA claim should be dismissed.

                                   CONCLUSION

       For the reasons set forth above, the Hospital’s motion to dismiss should be

 granted. Further, because Plaintiff’s claims are barred as a matter of law, Plaintiff’s

 claims should be dismissed with prejudice, without leave to replead. See A.G. v.

 Chester Upland School Dist., 655 F. App’x 125, 128–29 (3d Cir. 2016) (affirming

 district court’s dismissal with prejudice where “[p]laintiff’s claims fail as a matter

 of law”); Bright v. LabCorp, 2013 WL 1163489, at *2 (D.N.J. Mar. 19, 2013)

 (dismissing Title VII claims where plaintiff “cannot state a claim against him as a

 matter of law”).




                                           33
Case 2:22-cv-07509-SDW-JRA   Document 7-1   Filed 02/27/23   Page 42 of 42 PageID:
                                     81



 Dated: February 27, 2023             Respectfully submitted,
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                                     34
